Case 2:13-cr-06070-SAB ECFNo.94 __ filed07/18/24 PagelD.325 Pagelofi1

FILED IN THE
US. DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

UNITED STATES DISTRICT COURT JUL 18 2024
EASTERN DISTRICT OF WASHINGTON

SEAN F. McAVOY, CLERK

UNITED STATES OF AMERICA, ) RICHLAND, WASHINGTON
) No. 2:13-CR-06070-SAB-1
Plaintiff, )
VS. ) Defendant’s Assertion of
KENNETH RICHARD ROWELL, Fifth and Sixth Amendment
Defendant. )
)

TO: VANESSA R. WALDREF, UNITED STATES ATTORNEY

I, the above-named defendant, hereby assert my rights under the Fifth and Sixth Amendments of
the United States Constitution, including but not limited to my rights to remain silent and to have
counsel present at any and all of my interactions with the government or others acting on the
government’s behalf. I do not wish to, and will not, waive any of my constitutional rights except in the
presence of counsel. I do not wish to have, nor do I consent to, any contact with any government
official, including but not limited to law enforcement agents, except through my counsel. I do not want
the government or others acting on the government’s behalf to question me, or to contact me seeking a

waiver of any rights, unless my counsel is present. The Government should so instruct its agents.

7, </24/
Interpreter Signature Date I [
Interpreter Printed Name hee a 2

Defendant’s Assertion of
Fifth and Sixth Amendment Rights

